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                                                               FILED: September 11, 2023

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                      ___________________

                                            No. 23-4311
                                      (1:23-cr-00010-LMB-1)
                                      ___________________

        UNITED STATES OF AMERICA

                     Plaintiff - Appellee

        v.

        FRANCIS FORD

                     Defendant - Appellant

                                      ___________________

                                           ORDER
                                      ___________________

               The court rescinds the briefing schedule in this case. The parties will be

        notified when a new briefing order is entered.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
